                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
                                        )        No: 2:08-00013
            v.                          )
                                        )
JOSEPH WOLCOTT                          )

                             MEMORANDUM AND ORDER

            A    hearing    was   held      on   July     7,    2009,      before    the

undersigned Magistrate Judge on the Government’s motion to revoke

Joseph   Wolcott’s    bond    (Docket       Entry   No.       319),   to    which    the

defendant filed a response in opposition (Docket Entry No. 358).

As grounds for its motion, the Government asserts that Mr. Wolcott

violated condition No. 7(j) of the conditions of his pretrial

release which states as follows:

       The defendant shall avoid all contact, directly or
       indirectly, with any persons who are or who may become a
       victim or potential witness in the subject investigation
       or prosecution, including but not limited to codefendants
       in this case.

In particular, the Government alleges that Mr. Wolcott violated

this   condition     on    June   19,   2009,     when    he    had     contact     with

codefendant Bruce Ferguson while sitting on a bench outside the

courtroom minutes before defendant Ferguson’s scheduled sentencing

hearing.    Significantly, at the June 19, 2009, sentencing hearing

before Chief Judge Campbell, defendant Ferguson recanted from

portions of his plea agreement implicating defendant Wolcott.

            Among    the    exhibits        admitted     at     the   hearing,      the

Government introduced a videotape approximately two minutes in



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duration captured by a security camera located outside Judge

Campbell’s courtroom shortly before 2:00 p.m. on June 19, 2009.

This videotape segment initially shows defendant Ferguson seated at

one   end   of   a   bench   and    his    father,    Harold      Ferguson,    seated

immediately next to him.           At approximately 1:58 p.m. according to

the videotape timer, defendant Joseph Wolcott is shown walking by

the Fergusons and taking a seat at the far end of the bench.

Thereafter, based upon the postures and motions of the Fergusons

and Wolcott, it appears that at least some conversation occurred

among the three individuals seated on the bench.                       However, the

absence of sound makes it impossible, at least for the undersigned

Magistrate Judge, to tell who initiated the conversation and who

said what to whom. At approximately 1:59 p.m., the videotape shows

Assistant U.S. Attorney Heather Childs, the prosecutor in this

case, walk down the hall in plain view of the bench where the three

individuals are seated and then enter the courtroom through the

courtroom    doors.          At    approximately           2:00   p.m.,    which    is

approximately two minutes after the video began, Mr. Patrick

McAnally, Mr. Wolcott’s counsel, is shown approaching and greeting

Mr. Wolcott at the bench.          Immediately thereafter, Mr. Wolcott and

Mr. McNally proceed into the courtroom and the videotape segment

ends.

            In opposition to the Government’s motion, defendant

Wolcott has filed the affidavit of his counsel, Mr. Patrick McNally


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(Docket Entry No. 358-1).      In this affidavit, Mr. McNally states

that   he   instructed   his   client,       Mr.   Wolcott,      to   attend   Mr.

Ferguson’s sentencing hearing on June 19, 2009, and that he

arranged to meet Mr. Wolcott outside Judge Campbell’s courtroom

shortly before the hearing was scheduled to begin at 2:00 p.m.

             The   defendant   also        introduced     into    evidence     the

transcript of a proceeding held before Chief Judge Campbell on June

26, 2009, during which Harold Ferguson, the father of defendant

Bruce Ferguson, was questioned concerning the conversations that

occurred on the bench outside Judge Campbell’s courtroom on June

19.    According to Harold Ferguson’s testimony, after Mr. Wolcott

sat down on the bench he stated that the weather was hot and he

made certain brief statements to Mr. Harold Ferguson about his

farming operation and about Mr. Harold Ferguson’s “mud truck.” Mr.

Harold Ferguson responded that he had been spreading fertilizer on

his farm and that the truck was doing well.                  According to Mr.

Harold Ferguson’s testimony, Mr. Wolcott said nothing directed

specifically to Bruce Ferguson, and he said nothing to either of

the Fergusons related in any way to the current prosecution.

Harold Ferguson further testified that his son, Bruce Ferguson,

“just barely spoke” and that “he said he was just going to tell the

truth.”     (Transcript pp. 21 and 22).

             The defendant called Tim Searcy, Senior U.S. Probation

Officer, as a witness at the hearing. Mr. Searcy testified that he


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has had the responsibility for supervising Mr. Wolcott while on

pretrial release.         In substance, Mr. Searcy testified that Mr.

Wolcott has been cooperative with the Pretrial Services office

while on release and has done everything that Mr. Searcy has

requested of him.

           Title 18, Section 3148 of the United States Code governs

sanctions for a violation of a condition of pretrial release.

Applying the provisions of Section 3148(b) to this case, the

undersigned   Magistrate        Judge   finds          that   there    is   clear    and

convincing evidence that Mr. Wolcott has violated the condition of

release stating that he would have no contact with any of the

defendants in this case.          18 U.S.C. § 3148(b)(1)(B).                  From the

video   evidence,    it    is   clear     that     Mr.    Wolcott      violated     this

condition by voluntarily placing himself within sufficient physical

proximity to codefendant Bruce Wolcott that communication between

the two could occur.

           Despite    this      finding       of   a    violation,      however,     the

undersigned Magistrate Judge is unable to find from the evidence

that Mr. Wolcott deliberately made this contact with defendant

Bruce Ferguson for the purpose of influencing Ferguson’s testimony

at the sentencing hearing.         Such a conclusion is made unlikely by

the facts that Mr. Wolcott did not initiate his attendance at Mr.

Ferguson’s sentencing hearing, but, instead he was there upon the

direction of his counsel.           In addition, the brief time period

(approximately two minutes) of this contact and the location - on


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a bench outside the courtroom in plain view of anyone who walked by

including, in this case, the prosecuting Assistant U.S. Attorney -

renders it extremely unlikely that Mr. Wolcott would choose this

occasion to attempt to influence Mr. Ferguson’s testimony.                  The

only testimony regarding what was said on that bench fails to

establish that Mr. Wolcott said anything specifically to Bruce

Ferguson or that he said anything to anyone regarding the case

under prosecution.

            Although Mr. Wolcott is, at best, guilty of extremely

poor judgment in sitting on that bench near codefendant Ferguson,

the undersigned Magistrate Judge is unable from the evidence

presented   to   find   the   second   essential     element   required     for

revocation and detention as listed in Section 3148(b)(2).

            Finally, the testimony of Senior Probation Officer Searcy

establishes that while on release Mr. Wolcott has been cooperative

and has performed everything that Mr. Searcy has requested of him.

In the view of the undersigned Magistrate Judge, this testimony

overcomes the rebuttable presumption favoring detention in 18

U.S.C. § 3142(e)(3)(A).

            For the reasons stated above, the undersigned Magistrate

Judge DENIES the Government’s motion to revoke Mr. Wolcott’s bond

(Docket Entry No. 319) and ORDERS that he be released subject to

all conditions previously imposed.




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           It is so ORDERED.

                                        s/ John S. Bryant
                                        JOHN S. BRYANT
                                        United States Magistrate Judge




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